 In re Debtor          Frank Angelo DeCaro                                                            Case number
                       Anne Marie S N DeCaro


                                                                     UNITED STATES BANKRUPTCY COURT
                                                                     EASTERN DISTRICT OF WASHINGTON

                Debtor proposes the following:                       ORIGINAL           (Seq #) AMENDED CHAPTER 13 PLAN
                                                                                     List below the parts of the plan that have been changed.



Local Form 2083
Chapter 13 Plan                                                                                                                               (Effective 12/1/17)

 Part 1:      NOTICES
To All Parties in Interest:
                      Orders to avoid liens and to value property must be sought by separate motion, objection, or adversary proceeding in accordance
                      with the federal and local bankruptcy rules.

                      As used in this plan, the term “debtor” means the debtor, and if a joint bankruptcy case, it also means the joint debtor. In a case with
                      joint debtors, where a plan provision applies to only one debtor, that plan provision shall specifically so state, and shall state the full
                      name of the joint debtor to whom that provision solely applies.
To Debtor:            This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not indicate that the
                      option is appropriate in your circumstances. Plans that do not comply with federal rules, local rules and judicial rulings may not be
                      confirmable.
To Creditors: Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.
                      You should read this plan carefully and discuss it with your attorney. If you do not have an attorney, you may wish to consult one.
                      A creditor who wishes to oppose the plan may do so by filing a timely objection to the plan. Any objection must be in writing, filed
                      with the court and served upon the debtor, debtor’s counsel (if any), and the Chapter 13 Trustee (the “trustee”) no later than seven (7)
                      days prior to the hearing on confirmation. The provisions of the confirmed plan will bind the debtor and each creditor, whether or not
                      they have filed a proof of claim.
                      A proof of claim must be filed by or on behalf of each creditor, including secured creditors, in order for that creditor to be paid by
                      the trustee pursuant to the terms of the plan. The trustee will treat the amount stated on the filed proof of claim as the amount of a
                      secured creditor’s claim unless otherwise ordered by the court. Unsecured claims shall be allowed as filed and treated as provided
                      herein unless otherwise ordered by the court. See the Notice of Chapter 13 Bankruptcy Case (Official Form 3091) for the claims bar
                      date, which is the date by which a proof of claim must be filed in order to be treated as timely.
                      Certain pre-confirmation distributions are authorized to be made by the trustee based on provisions in the plan. Once the plan is
                      confirmed, and plan payments have been made by the debtor, the trustee will make disbursements to creditors pursuant to the
                      confirmed plan. When no proof of claim is filed, no post-confirmation distributions will be made, except as otherwise ordered by the
                      court, or provided by local rule.

                      DEBTOR MUST CHECK ONE BOX BELOW. IF THE "NOT INCLUDED" BOX, OR IF BOTH BOXES ARE
                       CHECKED, ANY NONSTANDARD PROVISION SET OUT IN PART 8 (OR ELSEWHERE IN THE PLAN)
                                                  WILL NOT BE EFFECTIVE.

                         NONSTANDARD PROVISIONS (PART 8)                                  Included                         Not included

 Part 2:      PLAN PAYMENTS AND LENGTH OF PLAN
2.1 Debtor shall pay the trustee as follows:
     $1,850.00 each month for first 60 month(s), commencing not later than 30 days after the date of the filing of the plan or the order for relief,
     whichever is earlier.

 2.2 Debtor                                   Commits                            Does not commit
      All tax refunds to funding of the plan, except to the extent otherwise subject by law to setoff, recoupment, or alternative disposition.

2.3 Debtor commits the following other income and assets to funding of the plan:
                          DATE                                                   SOURCE                                              AMOUNT

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                          DATE                                                SOURCE                                             AMOUNT
                                                                                                                  $
                                                                                                                  $
                                                                                                                  $
                                                                                                                  $

2.4 From funds received, the trustee shall make disbursements in the sequence set forth below except as provided in Part 8:
                                                CREDITOR TYPE/CLAIM                                                   SUBPART NO.
                       Cost of Administration - Attorney Fees                                                               4.1
                       Continuing Claims - Domestic Support Obligations                                                    4.2.2
                       Secured Claims that Extend Beyond the Plan Term                                                     3.2.1
                       Executory Contracts & Unexpired Leases                                                               6.1
                       Secured Claims to be Paid by the Trustee Within Term of Plan                                     3.2.3, 3.2.4
                       Arrearage/Defaults                                                                                3.2.2, 6.2
                       Priority Claims (Other than Cost of Administration)                                               4.2.3, 4.3
                       Separately Classified Nonpriority Unsecured Claims                                                   5.1
                       Unsecured Claims - Timely Filed                                                                     5.2.1
                       Unsecured Claims - Tardily Filed                                                                    5.2.2
     If the trustee has insufficient funds on hand to make disbursements to all classes, the funds will be distributed as provided to the extent funds are
     available. Claims within a particular class which cannot be paid the proposed disbursements shall be paid a pro rata share of the funds available.
     A monthly payment of less than $15.00 on any particular claim need not be distributed, but may be accumulated and distributed each time the
     aggregate amount of accumulated funds is $15.00 or more. For each distribution period, the trustee is permitted to hold back, in the same manner
     as set out for distribution, estimated or applied for attorney’s fees as projected costs of administration.
     Pre-Confirmation Payments: Prior to confirmation of the plan, the trustee is authorized to make monthly pre-confirmation payments to
     creditors, to the extent funds are available, in the amount of the monthly disbursement set forth in subparts 4.2.2, 3.2.1, 6.1, 3.2.3 and 3.2.4.
     Post-Confirmation Payments: A proof of claim must be filed by or on behalf of a creditor, including secured creditors, in order for that creditor
     to be paid by the trustee pursuant to the terms of the plan. The trustee will treat the amount stated on the filed proof of claim as the amount of a
     secured creditor’s claim unless otherwise determined by order of the court. Unsecured claims shall be allowed as filed and treated as provided
     herein unless otherwise ordered by the court.

 2.5 This plan is                                        100% Plan                    Base Plan/Base Amount $     111,000.00                               .
     For “base plan,” the base amount is the total sum of payments to be made to the trustee over the entire term of the plan. If the base amount is
     ultimately insufficient to pay those creditors required to be paid in full under the plan, (i.e., administrative expenses and/or secured, executory
     contract/unexpired lease, arrearage/default, priority and separate classification claims), the base amount will be increased to the extent necessary
     to fund the plan.
2.6 Plan Term
     Payments shall be made over a period of not less than 36 months nor more than 60 months, unless debtor pays all creditors in full in less than the
     applicable commitment period. Estimated length of plan is 60 months.

 Part 3:      TREATMENT OF SECURED CLAIMS
3.1 GENERAL
     3.1.1       Secured creditors, other than governmental units, shall not assess any late charges against the debtor if payments to the secured creditor,
                 pursuant to the plan, are current.

     3.1.2       Secured creditors, other than governmental units, may assess only items against the debtor that are permitted to be charged under the
                 contract. If a creditor charges any other fee or cost against the debtor, such creditor shall file and serve notice of the fee or cost on the
                 debtor, the attorney for the debtor, and the trustee. Such notice shall be filed as a supplement to the holder’s proof of claim and served no
                 later than 180 days after the fee or cost is assessed.

     3.1.3       Secured creditors, other than governmental units, shall file as a supplement to the holder’s proof of claim and serve on the debtor, the
                 debtor’s attorney and the Chapter 13 Trustee, no later than 21 days before a payment in the new amount is due, notice of any change in
                 the payment amount, interest rate, or escrow amount adjustment, prepared on Official Form 410S (Notice of Mortgage Payment
                 Change).

     3.1.4       Notices, statements, or other information provided in accordance with subparts 3.1.2 or 3.1.3, will not be considered by the court to
                 violate the automatic stay.

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     3.1.5       Governmental units acting as secured creditors shall comply with federal, state, and other governmental laws and regulations when:
                 assessing fees, charges and costs against the debtor; and when applying payments received.

     3.1.6       Debtor shall keep any collateral continuously insured in accordance with the terms of the original obligation with the creditor until the
                 amount of its secured claim is paid.

     3.1.7       Each creditor shall retain its lien or other interest in property vesting in the debtor until payment in full of the underlying debt or
                 discharge under 11 U.S.C. § 1328.

     3.1.8       Secured creditors, other than governmental units, shall immediately credit funds received pursuant to Part 3 to the postpetition, monthly
                 payment obligation. Funds shall be applied to the next post-petition payment due under the terms of the loan contract. Secured creditors
                 shall not assess a late charge unless the debtor fails to make a full or timely payment to the trustee under the plan that causes a delay in
                 the trustee’s disbursement of the monthly payment amount set forth below. Failure to comply with the terms of this subpart may
                 constitute a violation of the provisions of 11 U.S.C. § 524(i).

     3.1.9       Interest shall be paid as calculated by the trustee on a simple interest basis from the date of petition filing.

3.2 SECURED CLAIMS TO BE PAID BY TRUSTEE
     3.2.1       Creditors to whom the last payments are due beyond the term of the plan shall be paid according to the terms of the original obligation as
                 set forth below. Arrearages on such claims shall be paid in accordance with subpart 3.2.2. In the event any obligation is paid in full
                 before the plan is complete, future funds previously devoted to such creditors will be disbursed to other creditors under the plan.
                CREDITOR                                   DESCRIPTION OF               MONTHLY PAYMENT                         MONTH PAYMENT
                                                          PROPERTY/CLAIM                      AMOUNT                              COMMENCES
 Shellpoint Mortgage                                   4111 W Northwest Blvd          $1,056.71                               December 2018
 Servicing                                             Spokane, WA 99205
                                                       Spokane County
                                                       BUENA VISTA: PTN OF L1
                                                       BLK 6 LYG N OF LN DAF:
                                                       BEG AT PT ON NELY LN
                                                       OF L1 WHICH MEAS 165 FT
                                                       NWLY FROM MOST ELY
                                                       COR OF LOT 8 BLK 18
                                                       HOLLYWOOD ADD; TH
                                                       SWLY TO PT ON SWLY LN
                                                       OF L1 BLK 6 B
     3.2.2       Creditors, provided for in subpart 3.2.1, shall have arrearages cured at the interest rate and monthly payment set forth below.
             CREDITOR                                    DESCRIPTION OF                       AMOUNT OF                   INTEREST            MONTHLY
                                                        PROPERTY/CLAIM                       ARREARAGE                       RATE              PAYMENT
 Shellpoint Mortgage                              4111 W Northwest Blvd Spokane,         $18,000.00                       0.00%             pro-rata
 Servicing                                        WA 99205 Spokane County
                                                  BUENA VISTA: PTN OF L1 BLK 6
                                                  LYG N OF LN DAF: BEG AT PT
                                                  ON NELY LN OF L1 WHICH
                                                  MEAS 165 FT NWLY FROM
                                                  MOST ELY COR OF LOT 8 BLK
                                                  18 HOLLYWOOD ADD; TH SWLY
                                                  TO PT ON SWLY LN OF L1 BLK 6
                                                  B
     3.2.3       Creditors whose allowed secured claims will be paid within the term of the plan, shall be paid the amount of their secured claim plus
                 interest from the date of petition filing at the interest rate and monthly payment set forth below. The amount of a creditor’s secured claim
                 shall be the amount stated as secured on a proof of claim filed by or on behalf of the creditor unless otherwise determined by order of the
                 court upon separate motion or adversary proceeding in accordance with federal and local bankruptcy rules. To the extent that the amount
                 of a creditor’s allowed secured claim is determined to be less than the amount of its total claim, any portion of the claim in excess of the
                 amount of its allowed secured claim will be treated as an unsecured claim and paid as provided in subpart 4.3 (Other Priority Claims), if
                 entitled to priority under 11 U.S.C. § 507, or if not, as provided in subpart 5.2 (Unsecured Claims).
       CREDITOR                        DESCRIPTION OF                TOTAL CLAIM        SECURED           INTEREST           MONTHLY             MONTHLY
                                         PROPERTY                                        CLAIM              RATE             PAYMENT             PAYMENT
                                                                                                                                                COMMENCES


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       CREDITOR                        DESCRIPTION OF                TOTAL CLAIM        SECURED          INTEREST        MONTHLY               MONTHLY
                                         PROPERTY                                        CLAIM             RATE          PAYMENT                PAYMENT
                                                                                                                                              COMMENCES
 GESA Credit Union                    2011 Nissan                    $13,248.73        $9,000.00         6.00%           $175.00              December
                                      Murano 125,000                                                                                          2018
                                      miles
                                      Vin:
                                      JN8AZ1MWXBW16
                                      5606

     3.2.4       Creditors whose claims listed were either:
           (1)      incurred within 910 days before the petition date and secured by a purchase money security interest in a motor vehicle acquired for the
                    personal use of the debtor, or
           (2)      incurred within one year of the petition date and secured by a purchase money security interest in any other thing of value.
                    These claims will be paid in full under the plan with interest at the rate stated below. The claim amount stated on a timely filed proof
                    of claim controls unless otherwise ordered by the court.
       CREDITOR                        DESCRIPTION OF                TOTAL CLAIM        SECURED          INTEREST        MONTHLY               MONTHLY
                                         PROPERTY                                        CLAIM             RATE          PAYMENT               PAYMENT
                                                                                                                                              COMMENCES
 -NONE-
3.3 SECURED CLAIMS TO BE PAID BY THE DEBTOR
     Creditors whose claims are secured by real property, where the debtor’s obligations are current as of the date of the petition filing, shall be paid
     directly by the debtor according to the terms of the original obligation at the interest rate and monthly payment set forth below.
   CREDITOR                   ADDRESS & PARCEL NUMBER                        TOTAL        PROPERTY          INTEREST         MONTHLY                 FINAL
                                                                             CLAIM          VALUE             RATE           PAYMENT               PAYMENT
                                                                                                                                                     DATE
 Jayn                         4111 W Northwest Blvd                       $35,000.00      $268,490.00       12.00%           $0.00                 2048
 Courchaine                   Spokane, WA 99205 Spokane
                              County
                              BUENA VISTA: PTN OF L1 BLK
                              6 LYG N OF LN DAF: BEG AT
                              PT ON NELY LN OF L1 WHICH
                              MEAS 165 FT NWLY FROM
                              MOST ELY COR OF LOT 8 BLK
                              18 HOLLYWOOD ADD; TH
                              SWLY TO PT ON SWLY LN OF
                              L1 BLK 6 B
3.4 SURRENDER OF COLLATERAL
     Debtor surrenders the collateral securing the claims of the following creditors in satisfaction of the secured portion of such creditor’s claim. To
     the extent the collateral does not satisfy such creditor’s claim, the creditor shall be treated as the holder of an unsecured claim and paid as
     provided in Part 4, if entitled to priority under 11 U.S.C. § 507, or if not, as provided in subpart 5.2 (Unsecured Claims). The entry of the order
     confirming the plan shall terminate the automatic stay of 11 U.S.C. § 362(a) as to the collateral surrendered, thereby allowing recovery and
     disposition of such property according to applicable non-bankruptcy law, and shall terminate the codebtor stay of 11 U.S.C. § 1301(a), thereby
     allowing recovery against the codebtor according to applicable non-bankruptcy law. Any allowed unsecured claim resulting from the disposition
     of the collateral will be treated in Part 5.
              NAME OF CREDITOR                                                      COLLATERAL                            COLLATERAL VALUE
 Flagstar Bank                                                            2020 W Courtland Ave Spokane,                               $250,000.00
                                                                          WA 99205 Spokane County
                                                                          HILLCREST AC ADD W30FT OF
                                                                          L27; ALL L28 B6. Parcel No:
                                                                          25014.2844 (value based on most
                                                                          recent tax assessment)
3.5 AVOIDANCE OF JUDICIAL LIENS IMPAIRING AN EXEMPTION
     In order to avoid judicial liens or non-possessory, non-purchase money security interests, the debtor must file a separate motion under 11 U.S.C.
     § 522(f). Any claim on which the lien is avoided shall be treated as the holder of an unsecured claim and paid as provided in Part 4, if entitled to
     priority under 11 U.S.C. 507, or if not, as provided in subpart 5.2. The amount, if any, of the judicial lien or security interest that is not avoided

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     will be paid in full as a secured claim in subpart 3.2.3. Debtor intends to file such a motion with respect to the following:
                 CREDITOR                                      VALUE AND DESCRIPTION OF PROPERTY                          EXEMPTION IMPAIRED
 -NONE-

3.6 LIEN DISPUTES
     To determine the validity, priority or extent of a lien secured by the debtor’s real property, the debtor must file an adversary proceeding pursuant
     to F.R.B.P. 7001. Unless otherwise ordered by the court, any claim on which the lien is avoided shall be treated as an unsecured claim not entitled
     to priority and paid as provided in subpart 5.2. Debtor intends to file such an adversary proceeding with respect to the following:
                 CREDITOR                                      VALUE AND DESCRIPTION OF INTEREST                        AMOUNT OF SENIOR LIENS
 -NONE-


 Part 4:      TREATMENT OF COSTS OF ADMINISTRATION AND PRIORITY CLAIMS
4.1 COSTS OF ADMINISTRATION
     4.1.1       The trustee shall be paid the percentage fee fixed under 28 U.S.C. § 586(e)(1)(B).
     4.1.2       The attorney for the debtor shall be paid:
                            A flat fee of $ 4,000.00 , based on the flat fee agreement between the debtor and the attorney in accordance with Local
                            Bankruptcy Rule ("LBR") 2016-1(d) and of which $ 2,500.00 shall be paid by the trustee as set forth below in subpart 4.1.3.

                            Estimated fees and costs of $        in an amount to be proven, and allowed by the court, and of which $ shall be paid by the
                            trustee as set forth below in subpart 4.1.3. This is in addition to the compensation earned pre-petition and filing fees and other
                            costs incurred pre-petition in the amount of $ .




                            Estimated fees shall be withheld from plan disbursements and paid by the trustee only as allowed by the court after separate
                            application and order in accordance with LBR 2016-1(a), (b), and (c).
     4.1.3       The attorney for the debtor will be paid all allowed fees in full before any priority, separate classification, general unsecured or
                 postpetition creditors receive any money; but after payment of continuing, executory contract/unexpired lease, secured, and
                 arrearage/default creditors, except as set forth below:
                              $ per month to the attorney for the debtor for allowed fees before any priority, separate classification, general unsecured or
                              post-petition creditors receive any money; but after payment of continuing executory contract/unexpired lease, secured and
                              arrearage/default creditors.

                              $ per month to the attorney for the debtor for allowed fees before any arrearage/default, priority, separate classification,
                              general unsecured or post-petition creditors receive any money; but after payment of continuing, executory contract/unexpired
                              lease, and secured creditors.

                              Other: Pro-rata after monthly payments on secured claims.
4.2 DOMESTIC SUPPORT OBLIGATIONS
     4.2.1       Domestic support obligations paid directly by debtor
                                                CREDITOR                                                      TOTAL MONTHLY PAYMENT
 -NONE-
     4.2.2       Domestic support obligations paid by trustee
                 To creditors having post-petition claims for domestic support obligations, which are not being collected directly from the debtor, regular
                 periodic payments accruing post-petition on such obligations will be paid to such creditor by the trustee as set forth below. Arrearages
                 will be paid as set forth in subpart 4.3 (Other Priority Claims).
                                          CREDITOR                                          MONTHLY PAYMENT                        MONTHLY PAYMENT
                                                                                                AMOUNT                               COMMENCES

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                                          CREDITOR                                              MONTHLY PAYMENT                      MONTHLY PAYMENT
                                                                                                    AMOUNT                             COMMENCES
 -NONE-
     4.2.3       Domestic support obligations assigned or owed to a governmental unit and paid less than full amount
                 The allowed priority claims listed below are based on a domestic support obligation that has been assigned to or is owed to a
                 governmental unit and may be paid less than the full amount of the claim under 11 U.S.C. § 1322(a)(4). This plan provision requires the
                 term of the plan to be 60 months
 CREDITOR                                                                                                     AMOUNT OWED
 -NONE-
4.3 OTHER PRIORITY CLAIMS
     Unsecured creditors entitled to priority as defined in 11 U.S.C. § 507, who file a proof of claim within the deadline provided in the Notice of
     Chapter 13 Bankruptcy Case, shall be paid as set forth below. Unsecured creditors entitled to priority in a class superior to those in a junior class,
     as determined by 11 U.S.C. § 507(a), shall be paid in full before creditors in the junior class begin receiving payments. Priority creditors within
     the same class shall be paid pro rata. Unsecured creditors entitled to priority, who fail to timely file a proof of claim, shall be paid as provided in
     subpart 5.2.2 (Unsecured Claims).
                             CREDITOR                                         DESCRIPTION OF PROPERTY/CLAIM                                  AMOUNT OF
                                                                                                                                             ARREARAGE
 -NONE-
4.4 TAXES
     4.4.1       PRE-PETITION TAX RETURNS
                              All tax returns and tax reports due pre-petition have been filed.

                              The following tax returns and tax reports due as of the date of the petition filing have been filed:

               TAX AGENCY                                            TYPE OF TAX                              TAX PERIOD                        DATE RETURN
                                                                                                                                                WILL BE FILED


4.4.2        POST-PETITION TAXES
                 Debtor shall file all post-petition tax returns/tax reports and pay all post-petition taxes as they come due.
     4.4.3       POST-PETITION TAX CLAIMS
                 Claims for taxes filed under 11 U.S.C. § 1305 that become payable to a governmental unit while the case is pending shall be treated as
                 priority claims, provided in subpart 4.3 (Other Priority Claims).

 Part 5:      TREATMENT OF NONPRIORITY UNSECURED CLAIMS
5.1 NONPRIORITY UNSECURED CLAIMS SEPARATELY CLASSIFIED
     Unsecured creditors not entitled to priority, separately classified pursuant to 11 U.S.C. § 1322(b)(1), shall be paid a dividend over the term of the
     plan pro rata as follows. (Debtor must file with the plan an affidavit or declaration stating the basis for each separate classification.)
                       CREDITOR                                            DESCRIPTION OF CLAIM                                 AMOUNT OF CLAIM
 -NONE-
5.2 NONPRIORITY UNSECURED CLAIMS NOT SEPARATELY CLASSIFIED
     5.2.1       TIMELY FILED
                 Unsecured creditors not entitled to priority, who file a proof of claim within the deadline provided in the Notice of Chapter 13
                 Bankruptcy Case shall receive a dividend over the term of plan pro rata as follows:
                              Base Plan:                              Payment of their allowed claims to the extent of the funds remaining
                                                                      after payment of administrative expenses, continuing, executory
                                                                      contract/unexpired lease, secured, arrearage/default, priority and
                                                                      separate classification claims.

                              100% Plan:                              Full payment of their allowed claims.

                              100% Plan:                              Full payment of their allowed claims after full payment of allowed
                                                                      unsecured claims, then allowed unsecured claims that are
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                                                                      non-dischargeable under 11 U.S.C. 1328(a) shall receive pro rata
                                                                      payments for interest to the extent funds are available in the plan at the
                                                                      interest rate set forth below.
     5.2.2       TARDILY FILED
                 Unsecured creditors, who fail to file a proof of claim within the deadline provided in the Notice of Chapter 13 Bankruptcy Case, shall be
                 treated as allowed claims, unless disallowed by order of the court, but shall be subordinated to timely filed claims and paid pro rata only
                 after full payment of timely filed claims to the extent necessary for the plan to comply with 11 U.S.C. § 1325(a)(4) and 11 U.S.C. §
                 1325(b)(1)(B).
5.3 POST-PETITION CLAIMS
     Claims filed under 11 U.S.C. § 1305 for consumer debt arising after the date of petition filing, and that are for property or services necessary for
     the debtor’s performance under the plan, shall be treated as timely filed unsecured claims and paid as provided in subpart 5.2.1, but only if the
     specific claim is provided for in a modification of the plan. The claim shall be disallowed if the creditor knew or should have known that prior
     approval by the trustee of the debtor’s incurring the obligation was practicable and was not obtained.

 Part 6:      EXECUTORY CONTRACTS AND UNEXPIRED LEASES
6.1 ASSUMPTIONS
Debtor assumes the following executory contracts and/or unexpired leases. Adequate assurance of future performance will be provided by the
contract or lease payments being made according to the terms of the original obligation, and will be paid to such creditor by the trustee as set forth
below.
        CREDITOR                        TYPE OF AGREEMENT                     DESCRIPTION OF                    MONTHLY                      MONTH PAYMENT
                                                                             PROPERTY/CLAIM                  PAYMENT AMOUNT                   COMMENCES
 -NONE-
6.2 CURE OF ARREARAGES
     For executory contracts and/or unexpired leases included in subpart 6.1 that are currently in default, debtor will cure any default and compensate
     the other party to such contract and/or unexpired lease for any actual pecuniary loss at the interest rate and monthly payment as set forth below.
                                 CREDITOR                                             AMOUNT OF                   INTEREST RATE                    MONTHLY
                                                                                      ARREARAGE                                                    PAYMENT
 -NONE-
6.3 REJECTIONS
     Debtor rejects the following executory contracts and/or unexpired leases and surrenders the property. Any allowed unsecured claim for damages
     resulting from such rejection shall be paid as provided in subpart 5.2. The entry of the order confirming the plan shall terminate the automatic
     stay of 11 U.S.C. § 362(a) as to the property surrendered, thereby allowing recovery and disposition of such property according to applicable
     non-bankruptcy law, and shall terminate the codebtor stay of 11 U.S.C. § 1301(a), thereby allowing recovery against the codebtor according to
     applicable non-bankruptcy law. This list of rejections is not necessarily complete. Any executory contracts and/or unexpired leases not
     specifically assumed in accordance with subpart 6.1 shall be deemed rejected even if not listed in subpart 6.3.
                        CREDITOR                                          TYPE OF AGREEMENT                          DESCRIPTION OF PROPERTY/CLAIM
 -NONE-

 Part 7:      VESTING OF PROPERTY OF THE ESTATE
Property of the estate shall revest in the debtor upon confirmation of the plan, or at a later time or in another entity as follows:
                                        Dismissal or discharge only.



In the event the case is converted to Chapter 7, 11, or 12, property of the estate shall vest in accordance with the applicable law. Debtor shall be
responsible for the preservation and protection of all property of the estate.

 Part 8:      NONSTANDARD PROVISIONS
ANY NONSTANDARD PROVISION INCLUDED ELSEWHERE IN THE PLAN IS VOID. The plan includes the following nonstandard
provisions:


 Part 9:      SIGNATURES
CERTIFICATE OF COMPLIANCE WITH LAW AND LOCAL FORM 2083

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The attorney for the debtor (or the debtor if no attorney) hereby certifies under penalty of perjury that:
      The value, as of the date of petition filing, of property to be distributed under the plan on account of each allowed unsecured claim is not less
      than the amount that would be paid on such claim if the estate of the debtor were liquidated under Chapter 7 of the Code on such date.
      Except for information inserted in blank subparts, and as specifically provided in Part 8, this plan conforms with the Chapter 13 Plan form set
      forth in LBR 2083-1.
      This plan has been proposed in good faith and not by any means forbidden by law. This plan complies with the provisions of Chapter 13, with
      the other applicable provisions of Title 11, United States Code, and with all applicable national and local bankruptcy rules. This plan contains
      nononstandard provisions other than those set forth in Part 8.

 DATED:              November 28, 2018                                                 Debtor:     /s/ Frank Angelo DeCaro
                                                                                                   Frank Angelo DeCaro

 Attorney for Debtor:              /s/ S. Brent Sorenson                               Debtor:     /s/ Anne Marie S N DeCaro
                                   S. Brent Sorenson 29868                                         Anne Marie S N DeCaro

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